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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

JOHN P. ROSS,                             )
                                          )
                Plaintiff                 )
                                          )       2:17-cv-00338-NT
v.                                        )
                                          )
YORK COUNTY JAIL,                         )
                                          )
                Defendant                 )

        RECOMMENDED DECISION AFTER SCREENING COMPLAINT
               PURSUANT TO 28 U.S.C. §§ 1915(e), 1915A

       In this action, Plaintiff John Ross, an inmate in the custody of the Maine Department

of Corrections, alleges that an officer of the York County Jail did not permit Plaintiff to

mail his personal property to an out-of-state recipient before he was transferred to the

Maine State Prison, and informed Plaintiff that his property would be destroyed if someone

did not retrieve it. Plaintiff commenced this action to recover his property or the value of

his property.

       Plaintiff filed an application to proceed in forma pauperis (ECF No. 4), which

application the Court granted. (ECF No. 5.) In accordance with the in forma pauperis

statute, a preliminary review of Plaintiff’s complaint is appropriate.         28 U.S.C. §

1915(e)(2). Additionally, Plaintiff’s complaint is subject to screening “before docketing,

if feasible or … as soon as practicable after docketing,” because he is “a prisoner seek[ing]

redress from a governmental entity or officer or employee of a governmental entity.” 28

U.S.C. § 1915A(a).



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       Following a review of Plaintiff’s complaint, I recommend the Court dismiss the

complaint without prejudice.

                                  STANDARD OF REVIEW

       The federal in forma pauperis statute, 28 U.S.C. § 1915, is designed to ensure

meaningful access to the federal courts for those persons unable to pay the costs of bringing

an action. When a party is proceeding in forma pauperis, however, “the court shall dismiss

the case at any time if the court determines,” inter alia, that the action is “frivolous or

malicious” or “fails to state a claim on which relief may be granted” or “seeks monetary

relief against a defendant who is immune from such relief.” 28 U.S.C. § 1915(e)(2)(B).

“Dismissals [under § 1915] are often made sua sponte prior to the issuance of process, so

as to spare prospective defendants the inconvenience and expense of answering such

complaints.” Neitzke v. Williams, 490 U.S. 319, 324 (1989).

       In addition to the review contemplated by § 1915, Plaintiff’s complaint is subject to

screening under the Prison Litigation Reform Act because Plaintiff currently is incarcerated

and seeks redress from governmental entities and officers. See 28 U.S.C. § 1915A(a), (c).

The § 1915A screening requires courts to “identify cognizable claims or dismiss the

complaint, or any portion of the complaint, if the complaint (1) is frivolous, malicious, or

fails to state a claim …; or (2) seeks monetary relief from a defendant who is immune from

such relief.” 28 U.S.C. § 1915A(b).

       When considering whether a complaint states a claim for which relief may be

granted, courts must assume the truth of all well-plead facts and give the plaintiff the

benefit of all reasonable inferences therefrom. Ocasio-Hernandez v. Fortuno-Burset, 640

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F.3d 1, 12 (1st Cir. 2011). A complaint fails to state a claim upon which relief can be

granted if it does not plead “enough facts to state a claim to relief that is plausible on its

face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).

          Although a pro se plaintiff’s complaint is subject to “less stringent standards than

formal pleadings drafted by lawyers,” Haines v. Kerner, 404 U.S. 519, 520 (1972), this is

“not to say that pro se plaintiffs are not required to plead basic facts sufficient to state a

claim,” Ferranti v. Moran, 618 F.2d 888, 890 (1st Cir. 1980). To allege a civil action in

federal court, it is not enough for a plaintiff merely to allege that a defendant acted

unlawfully; a plaintiff must affirmatively allege facts that identify the manner by which the

defendant subjected the plaintiff to a harm for which the law affords a remedy. Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009).

                                       FACTUAL BACKGROUND

          Plaintiff, who is presently incarcerated at the Downeast Correctional Facility (see

ECF No. 7), alleges that he entered state custody at the York County Jail.1 Subsequently,

Plaintiff was transferred to the Maine State Prison. According to Plaintiff, prior to the

transfer, an officer at the York County Jail asked him to complete certain paper work to

arrange for someone to pick up his personal property. Plaintiff alleges he told the officer

that because he was not a Maine resident, he did not have anyone who could retrieve the

property.




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    The factual background is drawn from Plaintiff’s complaint. (ECF No. 1.)

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       Plaintiff was transferred without making any arrangements for the disposition of his

property. Plaintiff alleges the property is now lost because he was informed it would be

destroyed if he did not make arrangements within 30 days of his transfer, which period has

now expired. Plaintiff attached to his complaint a copy of a motion for the return of

property, which motion Plaintiff evidently filed in York County Superior Court in July

2017. Plaintiff’s property consisted of jewelry, articles of clothing, and a cell phone.

       Plaintiff filed this action against the York County Jail. While the jail facility is not

a proper defendant, the Court can reasonably construe the complaint to assert a claim

against York County. Plaintiff, however, has not identified a cause of action on which he

seeks to recover.

                                        DISCUSSION

       “‘Federal courts are courts of limited jurisdiction,’ possessing ‘only that power

authorized by Constitution and statute.’” Gunn v. Minton, 568 U.S. 251, 256 (2013)

(quoting Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377 (1994)). “It

is to be presumed that a cause lies outside this limited jurisdiction, and the burden of

establishing the contrary rests upon the party asserting jurisdiction.” Kokkonen, 511 U.S.

at 377 (citation omitted). “A court is duty-bound to notice, and act upon, defects in its

subject matter jurisdiction sua sponte.” Spooner v. EEN, Inc., 644 F.3d 62, 67 (1st Cir.

2011). A review of Plaintiff’s complaint fails to reveal a basis upon which this Court could

exercise either federal question jurisdiction or diversity jurisdiction under 28 U.S.C. §§

1331 and 1332.



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       Pursuant to section 1331, federal district courts “have original jurisdiction of all

civil actions arising under the Constitution, laws, or treaties of the United States.” 28

U.S.C. § 1331. Plaintiff has not asserted a claim based on the United States Constitution,

a federal statute, or a federal treaty. While Plaintiff’s complaint arguably could be

construed to allege a claim for deprivation of property, the Fourteenth Amendment only

prohibits the deprivation of property without due process of law. “To establish a procedural

due process claim under § 1983, a plaintiff must [demonstrate] that [he] was deprived of a

property interest by defendants acting under color of state law and without the availability

of a constitutionally adequate process.” Maymi v. P.R. Ports Auth., 515 F.3d 20, 29 (1st

Cir. 2008). Ordinarily, a procedural due process violation is complete when a deprivation

is imposed through an established state procedure that does not comply with constitutional

procedural standards. Godin v. Machiasport Sch. Dep’t Bd. of Directors, 831 F. Supp. 2d

380, 389 – 90 (D. Me. 2011); see also Zinermon v. Burch, 494 U.S. 113, 132 (1990) (“In

situations where the State feasibly can provide a predeprivation hearing before taking

property, it generally must do so regardless of the adequacy of a postdeprivation tort

remedy to compensate for the taking.”). Where, as here, a prisoner alleges that an

individual deprived him of property either through negligence or through intentional

misconduct (sometimes referred to as a “random, unauthorized act”), the Due Process

Clause is only violated if the state does not afford meaningful post-deprivation remedies.

Hudson v. Palmer, 468 U.S. 517, 532 – 33 (1984) (“[W]here a loss of property is

occasioned by a random, unauthorized act by a state employee, rather than by an

established state procedure ... it is difficult to conceive of how the State could provide a

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meaningful hearing before the deprivation takes place.”) (internal quotations omitted); see

also Parrat v. Taylor, 451 U.S. 527, 543 (1981) (affirming dismissal of due process claim

where “the deprivation occurred as a result of the unauthorized failure of agents of the State

to follow established state procedure” related to the receipt of prisoner packages by mail);

Watson v. Caton, 984 F.2d 537, 541 (1st Cir. 1993) (affirming dismissal of due process

claim based on defendant’s alleged destruction of “non-allowable” property that arrived at

prison by mail, without providing prisoner notice and an opportunity to mail the property

elsewhere).

       Plaintiff alleges that an officer at the York County Jail misinformed him that he

could not mail his property to an out-of-state recipient. The officer’s alleged conduct can

be fairly characterized as conduct governed by the “random, unauthorized conduct rule.”

As explained above, the random, unauthorized act of a state employee can support a claim

within the Court’s federal question jurisdiction only if the State of Maine does not provide

a meaningful remedy for Plaintiff’s alleged injury.

       The Maine Law Court has recognized that a prisoner can appeal to the state courts

from an administrative ruling made by the Department of Corrections on the prisoner’s

grievance. Fleming v. Comm’r Dep’t of Corr., 2002 ME 74, ¶ 9, 795 A.2d 692, 695 (Maine

Rule of Civil Procedure 80C(i) allows not only a review of final agency action, but also an

independent claim for damages where appropriate). In addition, under the Maine Tort

Claims Act, governmental entities are liable for property losses arising from the operation

or maintenance of any public building. 14 M.R.S. § 8104-A(2). Maine law thus affords

an individual an adequate remedy for the negligent or intentional destruction of personal

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property in the form of a common law conversion claim. Withers v. Hackett, 1998 ME

164, ¶ 7, 714 A.2d 798, 800. Because the circumstances do not involve the deprivation of

property as the result of an established state procedure, such as a disciplinary proceeding,

and because meaningful state remedies are available for the conversion of personal

property, Plaintiff has failed to state an actionable due process claim.

       Pursuant to section 1332, federal district courts also have original jurisdiction

“where the matter in controversy exceeds the sum or value of $75,000 … and is between

citizens of different States.” 28 U.S.C. § 1332(a)(1). In order for Plaintiff’s claim to come

within this Court’s diversity jurisdiction, Plaintiff and Defendant must have been citizens

of different states on the date the complaint was filed. “In cases involving prisoners, the

courts presume that the prisoner remains a citizen of the state where he was domiciled

before his incarceration ….” Hall v. Curran, 599 F.3d 70, 72 (1st Cir. 2010). Plaintiff has

alleged that he was not a Maine citizen when taken into state custody. Assuming, therefore,

that Plaintiff has sufficiently alleged diversity of citizenship, Plaintiff’s state law claim

could proceed in this Court if the matter in controversy exceeds the value of $75,000.

Plaintiff has not alleged that the value of the property exceeds $75,000, and the property

items identified by Plaintiff in his complaint do not otherwise suggest an aggregate value

in excess of $75,000. Plaintiff, therefore, has not asserted a claim within the Court’s

diversity jurisdiction.

                                       CONCLUSION

       Based on the foregoing analysis, while Plaintiff might have a claim within the

jurisdiction of the state court, Plaintiff has not asserted an actionable claim within this

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Court’s subject matter jurisdiction, Accordingly, pursuant to 28 U.S.C. § 1915(e)(2) and

28 U.S.C. § 1915A(a), I recommend the Court dismiss Plaintiff’s complaint without

prejudice.

                                         NOTICE

             A party may file objections to those specified portions of a magistrate
      judge's report or proposed findings or recommended decisions entered
      pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
      court is sought, together with a supporting memorandum, within fourteen
      (14) days of being served with a copy thereof.

             Failure to file a timely objection shall constitute a waiver of the right
      to de novo review by the district court and to appeal the district court's order.

                                          /s/ John C. Nivison
                                          U.S. Magistrate Judge

      Dated this 7th day of December, 2017.




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